Case 2:24-cv-02601-SB-E         Document 38    Filed 06/27/24    Page 1 of 3 Page ID #:438




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 12

 13                          UNITED STATES DISTRICT COURT
 14
                           CENTRAL DISTRICT OF CALIFORNIA
 15

 16
                                       WESTERN DIVISION

 17
      SISSY MCCONNON, on behalf of                    Case No.: 2:24-cv-02601-SB-E
 18   herself and all others similarly situated,
 19                Plaintiff,                         STIPULATION OF DISMISSAL
                                                      PURSUANT TO FED. R. CIV. P.
 20         v.                                        41(a)(1)(A)(ii)
 21   THE KROGER CO. a corporation; and
      DOES 1 through 10, inclusive,
 22
                   Defendant.
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                   STIPULATION OF DISMISSAL PURSUANT TO FED. R. CIV. P. 41(a)(1)(A)(ii)
Case 2:24-cv-02601-SB-E      Document 38      Filed 06/27/24    Page 2 of 3 Page ID #:439




  1         Plaintiff Sissy McConnon and Defendant The Kroger Co. (collectively, “the
  2   Parties”), by and through their respective counsel of record, hereby stipulate that the
  3   above-entitled action, McConnon v. The Kroger Co., Case No. 2:24-cv-02601-SB-E,
  4   be dismissed pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), with prejudice. The Parties
  5   will each bear their own fees and costs.
  6

  7
      Dated: June 27, 2024                     THE WAND LAW FIRM, P.C.
  8

  9                                            /s/ Aubry Wand
                                               Aubry Wand
 10
                                               FARUQI & FARUQI LLP
 11                                            Lisa T. Omoto
 12                                            Attorneys for Plaintiff and the Putative Class
 13

 14
      Dated: June 27, 2024                     DAVIS WRIGHT TREMAINE LLP
 15

 16                                            /s/ Jacob M. Harper
                                               Jacob M. Harper
 17                                            Heather F. Canner
 18                                            Attorneys for Defendant The Kroger Co.
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                  STIPULATION OF DISMISSAL PURSUANT TO FED. R. CIV. P. 41(a)(1)(A)(ii)
Case 2:24-cv-02601-SB-E      Document 38       Filed 06/27/24    Page 3 of 3 Page ID #:440




  1                      ATTESTATION OF E-FILED SIGNATURE
  2         I, Aubry Wand, am the ECF User whose ID and password are being used to file
  3   the foregoing document. In accordance with Civil Local Rule 5-4.3.4(a)(2), I attest
  4   that all other signatories listed, and on whose behalf the filing is submitted, concur in
  5   the filing’s content and have authorized the filing.
  6

  7   Dated: June 27, 2024                      By: /s/ Aubry Wand
                                                   Aubry Wand
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                   STIPULATION OF DISMISSAL PURSUANT TO FED. R. CIV. P. 41(a)(1)(A)(ii)
